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                                                         Wednesday, 22 August, 2018 03:33:26 PM
                                                                    Clerk, U.S. District Court, ILCD

                           [DRAFT AUGUST 22, 2018]

                IN THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF ILLINOIS
                        ROCK ISLAND DIVISION


KEWU ZHAN, on behalf of himself              )
and all others similarly situated            )
                                             )        No.: 18-CV-
                    Plaintiffs,              )
                                             )
               v.                            )
                                             )        CLASS ACTION
Patrick F. Hogan,                            )
CMB Export LLC ,                             )
                                             )        Judge/
                    Defendants               )        Magistrate


            CLASS ACTION COMPLAINT FOR EQUITABLE AND

                            DECLARATORY RELIEF



      Plaintiff Kewu Zhan (“Plaintiff”), individually and on behalf of all others

similarly situated, by and through the undersigned counsel, hereby files this Class

Action Complaint for Equitable and Declaratory Relief, and states as follows:



                                  Nature of the Case

       Plaintiff is a Chinese citizen who purchased a limited partnership interest in

an investment fund raised, sponsored, managed and controlled by Defendant CMB

Export LLC (“CMB”) and its Manager, Defendant Patrick F. Hogan (“Hogan”). The

term “CMB Fund” shall refer to any investment fund sponsored, managed, or
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controlled by CMB and Hogan. According to the CMB web site, there have been

some sixty CMB Funds.

      Plaintiff is one of numerous investors referred to invest in a CMB Fund by

attorney Hui Feng and various affiliated entities under his control (individually and

collectively, “Feng”). In return for such referrals, CMB arranged for Feng to receive

a commission for each investor referred. According to estimates from attorney Feng

made available to Plaintiff’s counsel but not independently verified, he is owed

commissions from CMB in the range of $1.5 to 2.0 million dollars.

      Feng was sanctioned and barred by the Securities and Exchange Commission

(SEC) for acting as an unlicensed broker in referring his immigration clients to

invest in various funds including those sponsored and managed by CMB. In the

Matter of Hui Feng and the Law Offices of Feng & Associates P.C. (March 12, 2018),

Securities and Exchange Commission v. Hui Feng, 2017 WL 6551107 (C.D. Cal.

August 10, 2017)(imposing disgorgement, civil penalties, and an injunction against

Feng for securities fraud and failure to register as a broker-dealer).

      During the pendency of its action against Feng (that is, in August 2017), the

SEC sent a letter to Hogan stating that CMB should not pay any commissions or

compensation to Feng for referring investors, and that CMB should notify the SEC

in advance if they planned to do so. The SEC has not made a decision about what

should happen to these funds, but they have been made to understand that

Plaintiff’s counsel is pursuing this question.

      The Plaintiff and the members of the purported class assert that these

commissions and other compensation earned in violation of the law are ill-gotten
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gains that rightfully should be returned to the investors, along with a choice to

rescind (or novate/affirm) their investment in the underlying transaction.

      Federal and state securities laws provide that when an unlicensed broker

facilitates the sale of a security for an issuer and generates a commission, the

purchaser has the right to rescind the brokerage agreement as well as the

underlying investment, and has the right to recover his funds invested any

commissions associated with such investment.

      Accordingly, Plaintiff and this class request that CMB make payment to each

of them of the respective commissions generated by their investment and for a

declaration that they have the right to rescind their investment in any CMB Fund.



                              Jurisdiction and Venue

      1.     Jurisdiction is proper in federal court pursuant to 28 U.S.C. 1332(a)(2)

because this is a civil matter, in excess of the statutory minimum, between subjects

of a foreign state (The People’s Republic of China) and citizens and entities of the

United States.

      2.      Jurisdiction is also proper in federal court pursuant to 28 U.S.C. 1331

because this action involves a question of federal law, namely whether the

Defendants violated the Securities Exchange Act of 1934, 15 U.S.C. 77q(a), 78j(b),

78o, and 78cc.

      3.     Venue is proper in this district pursuant to 28 U.S.C. 1391(b)(2) as all

Defendant Hogan is the Manager of CMB, and Defendant CMB has a principal

place of business in Rock Island, Illinois.
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      4.     This Court has the power to provide equitable and declaratory relief

under Article III of the Constitution and under 28 U.S.C. § 2201, 2202.



                                     The Parties

      5.     Plaintiff Kewu Zhan is a Chinese national.

      6.     Defendant Patrick F. Hogan (“Hogan”) was at all times relevant hereto

the manager of CMB.

      7.     Defendant CMB was at all times relevant hereto a California company

qualified and registered to do business in the State of Illinois with a principal office

in Rock Island, Illinois.



                   Factual Allegations Common to All Counts

      8.     Patrick Hogan and CMB set up the CMB Funds under the EB-5

Program of the United States Customs and Immigration Service (USCIS). CMB is a

“regional center” authorized by the USCIS to develop investment vehicles (so-called

“EB-5 funds”) that are composed of foreigner investors who are recruited through a

network of finders, each of whom is paid a commission for referring the investors.

Feng was one such finder in privity with CMB, although the exact terms of their

referral arrangement are not known at this time.

      9.     In a typical EB-5 investment, the investor pays an “administrative fee”

and the remainder buys him an interest as a limited partner or unitholder in an

EB-5 fund. The EB-5 fund will then put the fund’s money ‘at risk’ by loaning it to a

real estate developer. If the development ultimately creates 10 jobs per investor,
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and the investor submits the proper forms to the USCIS, the investor can obtain

conditional and then permanent citizenship.

      10.    However, since 2014 there has been a huge backlog of Chinese

investors applying for visas through the EB-5 program, and the USCIS has imposed

country quotas, which has exacerbated the backlogs so that investors seeking visas

are delayed for approval (so-called ‘retrogression’). Currently the retrogression is

estimated at 10-13 years from the time of making an investment.

      11.    There is intense competition among EB-5 fund sponsors to attract

Chinese investors for EB-5 funds, and Hogan/CMB had arrangements with

numerous finders to supply investors for their growing number of CMB Funds.

Typically finders are paid a fee up front and also receive an annual payment based

on the amount of the investor’s funds.

      12.    One of these finders used by Hogan/CMB for referrals was Feng, a U.S.

attorney who has set up various overseas referral entities that were controlled from

the United States, and operated without a brokerage license.

      13.    On information and belief, other investors may have been referred to

CMB Funds by immigration lawyer Jason Lee, who like Feng was sanctioned by the

SEC for operating as an unlicensed broker-dealer in taking money from regional

centers for recommending EB-5 projects. In the Matter of Jason Lee (May 10, 2018).

There may have been other unlicensed brokers paid by CMB under similar

circumstances, which will come out in discovery.

      14.    Plaintiff Zhan is typical in that he received only 21 pages of the

investment documents before making his investment – he got a few pages plus the
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signature pages. He later got the full package after CMB countersigned, and the

entire countersigned package was sent to him through Feng.

      15.      At all material times, Feng acted as Zhan’s broker for the investment,

since Zhan does not read or speak English, and no translated documents were ever

sent to him.

      16.      Feng represented to Zhan that the investment process would allow him

to come to the United States legally in about a year, and Zhan (who is in his 60s)

relied on that assurance, even though the retrogression at that point was actually in

the range of 8-12 years.

      17.      Hogan/CMB took investors from Feng (and possibly other unlicensed

brokers) even though Feng was unlicensed.

      19.      CMB and Hogan associated with, dealt with, and benefitted from their

association with an unlicensed broker-dealer because once the investor was put into

a CMB Fund, they drew large management and other fees from such investment.

      20.      Feng did not tell Plaintiff that he was an unlicensed broker, nor inform

such Plaintiff of the ramifications of such failure to be licensed, and this was a

material omission of fact that would have been critical to the investment decision of

any reasonable investor. Nor did CMB/Hogan disclose this to the investors.



                              Class Action Allegations

      21.      Plaintiff re-alleges and incorporates by reference the allegations set

forth in each of the preceding paragraphs of this Complaint.



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        22.   This action is maintainable as a class action under Rule 23 of the

Federal Rules of Civil Procedure.

        23.   Class Definition. The class definition shall be:

              All investors in any CMB-sponsored investment fund that
              were referred to such fund by a person determined by the
              SEC, a state securities regulator, or a court of competent
              jurisdiction to be acting as an unlicensed broker-dealer in
              connection with the purchase and sale of securities.

        24.   Plaintiff reserves the right to amend the Class definition if further

information and discovery indicate that the Class should be narrowed, expanded, or

otherwise modified.

        25.   All members of the Class were and are similarly affected and deceived

by the failure of the unlicensed brokers to register.

        26.   Numerosity.     Based on materials from attorney Feng, Plaintiff’s

counsel believes that the number of Plaintiffs is somewhere between 20 and 40, and

scattered throughout China and other countries, making joinder impracticable, if

not impossible. Hogan and CMB will have records of such persons and their contact

information, so they may be notified on the pendency of this action by Court-

approved dissemination methods such as US Mail, electronic mail, Internet postings,

and publication.

        27.   Common Questions of Law and Fact Predominate.                   It is

uncontested that all members of the class have the identical questions of law and

fact:




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                     a.    Whether     an        investment   received   by

             CMB/Hogan was procured through Feng or an unlicensed

             broker, in violation of federal and state securities law;

                     b.    Whether the failure of the broker to disclosed

             his unlicensed status constituted a material omission of

             fact;

                     c.    Whether     (and       to   what   extent)    the

             Defendants or their affiliates or clients owe commissions

             or other compensation to an unregistered broker in

             connection with the sale of a security;

                     d.    Whether     (and       to   what   extent)    the

             Defendant’s profited from the investment of the class

             members referred by unlicensed brokers; and

                     e.    Whether the failure to register and the

             failure to disclose creates a right of recovery and a right of

             rescission for each investor.

       28.   Typicality.    The facts surrounding the investment by Plaintiff are

typical of what happened with the other investors, since they arose from the same

course of conduct by the Defendants.

       29.   Adequacy. The Plaintiff has no conflict of interest or unusual fact

pattern that would render him an inadequate class representative.              Plaintiff’s

counsel is associated with attorneys who have conducted numerous class actions in

Illinois.
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      30.    Predominance and Superiority of Class Action.                  Given the

commonality of the issues affecting each investor, which easily predominate over

any minor differences, the class action is a superior method of deciding this matter

versus case-by-case adjudication. As the recovery requested by each investor is

small, and is mostly a return of their own money and the profits that it

generated, judicial efficiency favors the class action as a method.



                              COUNT I
                           15 U.S.C. 78o
              UNREGISTERED BROKER-DEALER (FEDERAL)


      31.    Plaintiff re-alleges and reincorporates, as though fully set forth herein,

each and every allegation above.

      32.    Section 15(a)(1) of the Exchange Act of 1934 makes it unlawful for a

person to “effect a transaction in securities” or “attempt to induce the purchase or

sale of any security” unless such person is registered with FINRA as a broker-dealer.

      33.    Section 29(b) of the Exchange Act provides that every contract made in

violation of any provision of the broker-dealer registration requirements “shall be

void.” The voidable transaction gives the investor a right of rescission to both the

brokerage relationship and, if he so chooses, to rescind the underlying investment.

      34.    Both the SEC and the federal court in the Central District of California

have concluded that Feng was acting as an unlicensed broker dealer when he

effectuated his investments into EB-5 funds, some of which were CMB Funds. The

SEC told CMB/Hogan that Feng was in violation of the securities laws and that

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they should therefore not pay him any commissions or other compensation because

such money was tainted; but there is no reason that it should be retained by CMB

when it was generated by and from the Plaintiff class.

      35.    CMB and Hogan were dealing with Feng’s entities and were in a

position to discover by simple due diligence that Feng was unlicensed. Even if they

were not actually aware of this, they acquired rights and profited from their

relationship with Feng, to the detriment of class members.

      36.    The exact amount of money paid by CMB to Feng for each investor is

unknown, although it is believed that Feng may have transferred clients to CMB

either directly to their headquarters in Illinois or though CMB’s affiliate in

Switzerland, CMB GmbH, which is also managed by Hogan.                 As a result, all

unlicensed brokerage leads to profits for the unlicensed broker and Hogan/CMB.

      37.    Transaction-based compensation of the type between CMB and Feng is

is the hallmark of broker-dealer activity.

      38.    Section 29(b) of the Exchange Act provides the remedy of restitution

and rescission for unlicensed broker-dealer activity:


             Every contract made in violation of any provision of this
             chapter or of any rule or regulation thereunder, and every
             contract (including any contract for listing a security on an
             exchange) heretofore or hereafter made, the performance
             of which involves the violation of, or the continuance of any
             relationship or practice in violation of, any provision of this
             chapter or any rule or regulation thereunder, shall be void
             (1) as regards the rights of any person who, in violation of
             any such provision, rule, or regulation, shall have made or
             engaged in the performance of any such contract, and (2)
             as regards the rights of any person who, not being a party
             to such contract, shall have acquired any right thereunder
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             with actual knowledge of the facts by reason of which the
             making or performance of such contract was in violation of
             any such provision, rule, or regulation . . .

The contractual relationship between each class member and the CMB Funds

involves the violation of broker-dealer registration, which renders the contracts void.

The remedy is that all related contracts – both the brokerage contract and the

underlying investment – are both void. The parties may thereafter choose to novate

(or reaffirm) the investment relationship, but they both get a right of rescission.

      39.    Zhan had no reason to know that he was wrongfully dealing with an

unlicensed broker until he retained US counsel in June of 2018, at which time

Plaintiff’s counsel discovered that Feng had acted for Plaintiff as an unregistered

broker-dealer. Zhan cannot speak or read English.

      WHEREFORE, Plaintiff asks this Court for an Order declaring that the

Defendants’ sale of CMB Fund securities through an unlicensed broker-dealer gives

each member of the Plaintiff class a right to void his brokerage arrangement and

his underlying investment, allowing full restitution to the Plaintiff class of all

commissions and compensation due to the unlicensed brokers and a rescission right

to the return of all investment funds, plus costs, interest, and fees.



                               COUNT II
                            15 U.S.C. 78o
                 UNREGISTERED BROKER-DEALER (STATE)


      40.    Plaintiff re-alleges and reincorporates, as though fully set forth herein,

each and every allegation above.

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      41.    The transactions described above were facilitated by a broker-dealer

that failed to be licensed by the State of Illinois under the Illinois Securities Act,

815 ILCS 5/8 (note that the definition of ‘dealer’ includes a ‘broker,’ 815 ILCS 5/2.7).

      42.    The Illinois Securities Act, 815 ILCS 5/13, provides joint and several

liability of the broker-dealer and the issuer for a sale of securities if the broker-

dealer is unregistered:


             Private and other civil remedies;   securities.

             A. Every sale of a security made in violation of the
             provisions of this Act shall be voidable at the election of
             the purchaser exercised as provided in subsection B of
             this Section;   and the issuer, controlling person,
             underwriter, dealer or other person by or on behalf of
             whom said sale was made, and each underwriter, dealer,
             internet portal, or salesperson who shall have
             participated or aided in any way in making the sale, and
             in case the issuer, controlling person, underwriter, dealer,
             or internet portal is a corporation or unincorporated
             association or organization, each of its officers and
             directors (or persons performing similar functions) who
             shall have participated or aided in making the sale, shall
             be jointly and severally liable to the purchaser as follows:

             (1) for the full amount paid, together with interest from
             the date of payment for the securities sold at the rate of
             the interest or dividend stipulated in the securities sold
             (or if no rate is stipulated, then at the rate of 10% per
             annum) less any income or other amounts received by the
             purchaser on the securities, upon offer to tender to the
             seller or tender into court of the securities sold or, where
             the securities were not received, of any contract made in
             respect of the sale; . . .

             B. Notice of any election provided for in subsection A of
             this Section shall be given by the purchaser within 6
             months after the purchaser shall have knowledge that the
             sale of the securities to him or her is voidable, to each
             person from whom recovery will be sought, by registered
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             mail or certified mail, return receipt requested, addressed
             to the person to be notified at his or her last known
             address with proper postage affixed, or by personal
             service.

      43.    As stated above, the Plaintiffs all purchased securities within the State

of Illinois through an entity qualified to do business in this district which operated

as an unlicensed broker-dealer.

      44.    CMB was the issuer and it participated in the transaction by

acquiring rights and funds of the investor through the actions of an unlicensed

broker-dealer.

      45.    The purchaser’s attorney was retained in June 2018 and did not have

actual knowledge under the Illinois Securities Act of the failure to register until a

few months ago, and Plaintiff himself does not speak English and could not have

known to inquire of the unregistered status of the broker-dealer.

      WHEREFORE, under the Illinois Securities Act, the Plaintiff class members

ask for a right to void their brokerage arrangement and underlying investment,

allowing full restitution to the Plaintiff class of all commissions and compensation

due to the unlicensed brokers and a right to rescission and return of the full

investment plus 10% annual interest.



                               COUNT III
                   15 U.S.C. 78j (17 CFR. 240.10b-5)
            FRAUDULENT MISPRESENTATION AND OMISSION
                       OF MATERIAL FACTS


      46.    Plaintiff re-alleges and reincorporates, as though fully set forth herein,

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each and every allegation above.

       47.    Section 10b of the Exchange Act (15 U.S.C. 78j) provides as follows:


              It shall be unlawful for any person, directly or indirectly . .

              (b) To use or employ, in connection with the purchase or
              sale of any security registered on a national securities
              exchange or any security not so registered, or any
              securities-based swap agreement any manipulative or
              deceptive device or contrivance in contravention of such
              rules and regulations as the Commission may prescribe as
              necessary or appropriate in the public interest or for the
              protection of investors.


In furtherance of Rule 10(b), the Commission enacted Rule 10b-5 (17 CFR 240.10b-

5) which makes clear that it is unlawful to omit to make a statement that is

necessary to clarify a misstatement or is necessary to disclose to give the investor a

full set of material facts:


              It shall be unlawful for any person, directly or indirectly,
              by the use of any means or instrumentality of interstate
              commerce, or of the mails or of any facility of any national
              securities exchange,

              (a) To employ any device, scheme, or artifice to defraud,

              (b) To make any untrue statement of a material fact or to
              omit to state a material fact necessary in order to make
              the statements made, in the light of the circumstances
              under which they were made, not misleading, or

              (c) To engage in any act, practice, or course of business
              which operates or would operate as a fraud or deceit upon
              any person,

              in connection with the purchase or sale of any security.

A “material fact” under Rule 10b-5 is any fact that a reasonable investor would find

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important in making a decision whether to invest.

      48.        According to both the SEC and the federal court for the Central

District    of    California,   Feng’s   unlicensed   actions   constituted   fraudulent

misrepresentation under Rule 10-5 enacted under the Securities Exchange Act.

      48.        In other words, the failure to disclose his unregistered status was a

material omission of an important fact that worked a fraud upon the investors.

      49.        This fraudulent violation of Rule 10b-5 triggers the remedy of Section

29(b) which is to render void all contracts and all rights associated with such

securities fraud.

      50.        In addition to the foregoing, CMB and Hogan made an additional and

material misstatement of material fact in the claim contained in Fund offering

documents and its Form Ds as filed with the SEC (as recently as 2016) that the

limited partnership and investment units that they sell are not “securities” under

the federal and state securities laws.

      51.        For example, the PPM in which Plaintiff invested, CMB Export

Infrastructure Group 48 LP, states at page 62:

                 [T]he Partnership believes that the Units likely do not
                 constitute “securities” under the U.S. federal securities laws
                 because, among other reasons, the Investor has no opportunity
                 or expectation to make a profit on his or her total Subscription
                 Price of $550,000. The investment is simply made in order to
                 achieve an immigration benefit. If the SEC or a U.S. court were
                 to determine that the Units are “securities” (which the
                 Partnership believes is unlikely), there can be no assurance that
                 significant liability (and costs prior to such a determination
                 upon an investigation, suit or enforcement action) for failure to
                 comply with any or all such laws and related rules and
                 regulations would not result to the Partnership . . .

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      52.     The statement that the limited partnership interests are not

“securities” is a blatant misrepresentation.       The SEC has long been pursuing

regional centers and unlicensed brokers in the EB-5 industry for securities fraud.

And the SEC is only involved with EB-5 funds in the first place because they are

securities, which is why these actions were brought by the Securities and Exchange

Commission.

      53.     As early as 2013, the SEC even issued an Investor Alert about EB-5

securities fraud entitled: “Investment Scams Exploit Immigrant Investor Programs.”

Any issuer that was offering limited partnership interests or units via an ‘offering’

(a term that applies to securities) should have known that they were selling

securities.

      54.     The courts have ruled that EB-5 investments – even at tiny profit

margins – are “securities.” See, e.g., SEC v. Liu, 262 F. Supp. 3rd 957 (C.D. Cal

2017)(holding that EB-5 interests are securities).

      55.     At page 62 the PPM for Zhan contains the material misstatement that:

“Prospective Investors should be aware that they do not have all of the protection

afforded by applicable federal and state securities laws . . .”

      56.     This language is likely repeated in the PPMs and offering documents

for other members of the class, and again is a blatant misrepresentation of the law

and remedies available to investors.

      57.     Investors most certainly have the protection of federal and state

securities laws, which may the strongest in the world, and this is a material fact.



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      58.    CMB/Hogan also omitted material information about the amount that

the foreign finders (who recruited the investors) are being paid. In fact, FINRA

2040(c) now requires companies that use foreign finders to prepare a separate

document for each investor to sign, showing the exact remuneration for such finder

– this was obviously not done in this case. If the investors had known that the

foreign finder was making huge money to corral them into the project, they would

find such information material to their investment decision.

      59.    The attempt by Defendants to hide these remedies from the investors

is fraudulent and reckless and it material; the investors have the right to know that

they are protected by the securities laws and that the foreign finders who

recommended this transaction were paid a particular amount.

      WHEREFORE, Plaintiff asks this Court for an Order declaring that the

Defendants have made material misstatements and omissions under Rule 10b-5,

giving each member of the Plaintiff class a right to void his brokerage arrangement

and his underlying investment, allowing full restitution to the Plaintiff class of all

commissions and compensation due to the unlicensed brokers and a rescission right

to the return of all investment funds, plus costs, interest, and fees.



                                     Conclusion:

Prayer for Constructive Trust and Declaration of Right of Rescission

      The aforesaid securities violations can be remedied by the Court through the

creation of a constructive trust. Defendants CMB and Hogan would assemble a list

of all person referred to the CMB Funds by unlicensed broker-dealers, and then
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deposit into a bank account the brokerage fees and compensation otherwise payable

to the unlicensed broker.     A trustee could return each amount to its respective

investors, subtracting for contractual attorneys fees due to counsel for Plaintiffs.

Concurrently each investor could be notified that he has the right to rescind (or

novate/affirm) his investment in the applicable CMB Fund by giving reasonable

notice, which could be coordinated by the trustee.        Such actions would resolve the

securities violations set forth herein.



Dated:       August 23, 2018

                                                 Respectfully Submitted,

                                                 ______________________

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